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A0245B          (Rev. 09/11) Judgment in a Criminal Case
vi              Sheet I



                                            UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF ALABAMA
                                                                                 )
                UNITED STATES OF AMERICA                                         )          JUDGMENT IN A CRIMINAL CASE
                                    v.                                           )
                                                                                 )
                  SHAMYER TYWON SUDDITH                                                     Case Number: 2:15cr200·02·MHH
                                                                                 )
                                                                                 )          USM Number: 15684·002
                                                                                 ).
                                                                                 )          James Matthew Williams
                                                                                            Defendant's Attorney
THE DEFENDANT:
I!\'pleaded guilty to count(s)           Two of the Indictment on                    2015
o pleaded nolo contendere to count(s)
     which was accepted by the court.
o was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                              Offense Ended             Count

 18 USC 924(c)(1)(A)(ii)             Brandishing a Firearm During a Crime of Violence                               10/17/2013               2




o See additional count(s) on page 2
      The defendant is sentenced as provided in pages 2 through 6                     of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
.J                                                           .-/       - - - - - - ...          --~--~--------------

IY.I Count(s)     1 of the Indictment                        IltI is     0 are dismissed on the motion of the United States.
         It is ordered that the defendant IIDst notify the United States attomey for this district within 30 days of any' cliange of name. residence,
or mailingaddress until all ftnes, restitution) costs, and special assessments i        by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attomey of material ch           in economic circumstances.

                                                                                December 14, 2015
                                                                                 Date



                                                                                     lsI Madeline Hughes Haikala
                                                                                 Signature of Judge

                                                                                 MADELINE HUGHES HAl KALA, U.S. DISTRICT JUDGE
                                                                                 Name of Judge                              Title of Judge

                                                                                                2110/2016
                                                                                 Date
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A0245B          (Rev. 09/11) Judgment in a Criminal Case
vi              Sheet 2 - Imprisonment

                                                                                                                   Judgment Page: 2 of 6
     DEFENDANT: SHAMYER TYWON SUDDITH
     CASE NUMBER: 2:15cr200-02-MHH


                                                                    IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total tenn of:
      51 Months.




        azf The court makes the following recommendations to the Bureau of Prisons:
     The court recommends that the defendant be designated to a facility where drug treatment is available.
     The court recommends that the defendant be designated to a facility close to Montgomery or Troy, AL.



        i!1' The defendant is remanded to the custody of the United States Marshal.
        D The defendant shall surrender to the United States Marshal for this district:
             o at                                          0 a.m.    D p.m.   on

             o as notified by the United States Marshal.
        D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             o before              on

             o as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
     I have executed this judgment as follows:




             Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                    to ____________________

     a ____________________ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                              By~~    _____________________________________
                                                                                               DEPUTY UNITED STATES MARSHAL
                         Case 2:15-cr-00200-MHT-CSC Document 104 Filed 02/10/16 Page 3 of 6


A0245B            (Rev. 09111) Judgmcnt in a Criminal Casc
vi                Sheel 3 - Supervised Release

 DEFENDANT: SHAMYER TYWON SUDDITH                                                                                        Judgment Page: 3 of 6
 CASE NUMBER: 2:15cr200-02-MHH
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 3 Years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.                                                                                                    .
 The defendant shall not commit another federal, state or local crime. .
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any' unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, iJapplicable.)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Cbeck, iJapplicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Cbeck, iJapplicable.)

           The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
 D         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, iJapplicable.)

 D         The defendant shall participate in an approved program for domestic violence. (Check, iJapp/icable.)
         Ifthis judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that hare been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2}      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3}      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4}      the defendant shall support his or her dependents and meet other family responsibilities;
      5}     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
     6}      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7}     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probatIOn officer;
     10}     the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall pennit confiscation ofany
             contraband observea in plain view of the probation officer;
     II}     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcerrent officer;
     12}     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall noti~third j)artiesof risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
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A0245B    (Rev. 09/11) Judgment in a Criminal Case
vi        Sheet 3C - Supervised Release

 DEFENDANT: SHAMYER TYWON SUDDITH                                                                     ludgment Page: 4 of 6
 CASE NUMBER: 2:1Scr200-02-MHH


                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall partipate in a program approved by the lJnited States Probation Office for substance abuse as
     directed, which may include testing to detennine whether he has reverted to the use of drugs .. the defendant shall
     contribute to the cost of any treatment based on his ability to pay and the availability of third party payments.
     2. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.




                                                                                                                              , '.
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A0245B           (RcY. 09111) Judgmcnt in a Criminal Case
yJ                Sheet 5 - Criminal Monetary Penalties

                                                                                                                       Judgment Page: 5 of 6
 DEFENDANT: SHAMYER TYWON SUDDITH
 CASE NUMBER: 2:15cr200-02-MHH
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                                                          Restitution
 TOTALS                $ 100.00                                       $                                    $ $12,038.00


 o The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 riI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned rayment, unless specified otherwise in
         the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all non federal victims must be paid
         before the United States is paid.

     Name of Payee                                                  Total Loss*                Restitution Ordered      Priority or Percentage

      BancorpSouth Bank                                                                                   $12,038.00

      Attn: Mary Lois Stockman

      P.O. Box 789
      Tupelo, Mississippi 38802




                                                                                      $0.00               $12,038.00
 TOTALS


 o        Restitution amount ordered pursuant to plea agreement $

 o        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     riI The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         riI the interest requirement is waived for the 0 fine M restitution.
         o the interest requirement for the 0 fine 0 restitution is modified as follows:

     ,.. Findings for the total armunt oflosses are required under Cha(1ers 109A, 110, I lOA, and 113A of Title 18 for offenses committed on or after
     September 13, 1994, but before April 23, 1996.
                     Case 2:15-cr-00200-MHT-CSC Document 104 Filed 02/10/16 Page 6 of 6


AD 2458        (Rev. 09111) Judgment in a Criminal Case
vi             Sheet 6 -   Schedule of Payments

                                                                                                                             Judgment Page: 6 of 6
 DEFENDANT: SHAMYER TYWON SUDDITH
 CASE NUMBER: 2:15cr200-02-MHH


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendatlt's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    rfi Lumpsumpaymentof$                 12,138.00             due immediately, balance due

           O       not later than                       or
                                  ------~------------ '
           riI     in accordance      0 C, 0 D, 0       E, or                    ri' F below; or
 B    0    Payment to begin immediately (may be combined with                  0 C,       o D. or        0 F below); or
 c    0    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _________ (e.g.• months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    0    Payment in equal                             (e.g.• weekly, monthly. quarterly) installments of $                         over a period of
                              (e.g., months or years), to commence                       (e.g.. 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    0    Payment during the term of supervised release will commence within                 (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    rsI Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid at
            the rate of not less than $200 per month.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, J>ayment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.                                                           .

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ri' Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Shamyer Tymon Suddith 2:15cr200-02-MHH, $12,038.00 total amount, $12, 038.00 joint and several amount,
       BancorpSouth Bank - payee.
       Marlo DHanjan Suddith 2:15cr200-01-MHH, $12,038.00 total amount, $12, 038.00 joint and several amount,
       BancorpSouth Bank - payee.
 o    The defendant shall pay the cost of prosecution.

 o    The defendant shall pay the following court cost(s):

 o    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
